Information to identify the case:

                       Joan Raider Rawlings                                                   Social Security number or ITIN:      xxx−xx−6290
Debtor 1:
                                                                                              EIN: _ _−_ _ _ _ _ _ _
                       First Name    Middle Name     Last Name

Debtor 2:                                                                                     Social Security number or ITIN: _ _ _ _
(Spouse, if filing)    First Name    Middle Name     Last Name                                EIN: _ _−_ _ _ _ _ _ _

United States Bankruptcy Court:     Western District of Washington                                Date case filed for chapter:            13      1/6/22

Case number:          22−10025−TWD

Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                         08/21


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more
information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                                   About Debtor 1:                                                       About Debtor 2:
1. Debtor's full name                              Joan Raider Rawlings

2. All other names used in the
   last 8 years
                                                   4534 NE 204th Pl
3. Address                                         Lake Forest Park, WA 98155
                                                   Christina L Henry                                                    Contact phone 206−330−0595
                                                   Henry & DeGraaff, P.S.                                               Email: chenry@hdm−legal.com
4. Debtor's  attorney
   Name and address
                                                   113 Cherry Street
                                                   Pmb 58364
                                                   Seattle, WA 98104−2205

5. Bankruptcy trustee                              Jason Wilson−Aguilar                                                 Contact phone 206−624−5124
     Name and address                              600 University St #1300                                              Email: courtmail@seattlech13.com
                                                   Seattle, WA 98101

6. Bankruptcy clerk's office                                                                                             Hours open 8:30 am − 4:30 pm Monday −
     Documents in this case may be filed                                                                                 Friday
     at this address.                              700 Stewart St, Room 6301                                             Contact phone 206−370−5200
     You may inspect all records filed in          Seattle, WA 98101                                                     Date: 1/7/22
     this case at this office or online at
      https://pacer.uscourts.gov.
                                                                                                                                 For more information, see page 2




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Debtor Joan Raider Rawlings                                                                                                         Case number 22−10025−TWD
7. Meeting of creditors
    Debtors must attend the meeting to February 14, 2022 at 08:30 AM                                           Location:
    be questioned under oath. In a joint The meeting may be continued or adjourned to a later
    case, both spouses must attend.      date. If so, the date will be on the court docket.                    Telephonic Creditors Meeting
    Creditors may attend, but are not                                                                          Conference Line: 1−866−880−5064
    required to do so.                                                                                         Participant Code: 6951575
8. Deadlines                                 Deadline to file a complaint to challenge                                Filing deadline: 4/15/22
    The bankruptcy clerk's office must       dischargeability of certain debts:
    receive these documents and any
    required filing fee by the following
    deadlines.                               You must file:
                                             • a motion if you assert that the debtors are
                                                not entitled to receive a discharge under
                                                U.S.C. § 1328(f) or
                                             • a complaint if you want to have a particular
                                                debt excepted from discharge under
                                                11 U.S.C. § 523(a)(2) or (4).
                                             Deadline for all creditors to file a proof of claim                      Filing deadline: 3/17/22
                                             (except governmental units):
                                             Deadline for governmental units to file a proof of                       Filing deadline: 7/5/22
                                             claim:


                                             Deadlines for filing proof of claim:
                                              A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
                                              www.uscourts.gov or any bankruptcy clerk's office.
                                             If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file
                                             a proof of claim even if your claim is listed in the schedules that the debtor filed.
                                             Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                             claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
                                             For example, a secured creditor who files a proof of claim may surrender important nonmonetary rights,
                                             including the right to a jury trial.
                                             If your claim is secured by a security interest in the debtor's principal residence, see Fed. R. Bankr. P.
                                             3002(c)(7) for claim filing deadlines.


                                             Deadline to object to exemptions:                                         Filing deadline:    30 days after the
                                             The law permits debtors to keep certain property as exempt. If you                            conclusion of the
                                             believe that the law does not authorize an exemption claimed, you                             meeting of creditors
                                             may file an objection.

9. Filing of plan                           The debtor has not filed a plan. The hearing on confirmation will be held on: 3/16/22 at 09:30 AM , Location: U.S.
                                            Courthouse, Room 8106, 700 Stewart Street, Seattle, WA 98101.
10. Creditors with a foreign                 If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                                  extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                             any questions about your rights in this case.
11. Filing a chapter 13                      Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                          according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                             plan and appear at the confirmation hearing. A copy of the plan, if not enclosed, will be sent to you later, and if
                                             the confirmation hearing is not indicated on this notice, you will be sent notice of the confirmation hearing. The
                                             debtor will remain in possession of the property and may continue to operate the business, if any, unless the
                                             court orders otherwise.
12. Exempt property                          The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                             distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as
                                             exempt. You may inspect that list at the bankruptcy clerk's office or online at https://pacer.uscourts.gov. If you
                                             believe that the law does not authorize an exemption that debtors claimed, you may file an objection by the
                                             deadline.
13. Discharge of debts                       Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of
                                             a debt. However, unless the court orders otherwise, the debts will not be discharged until all payments
                                             under the plan are made. A discharge means that creditors may never try to collect the debt from the
                                             debtors personally except as provided in the plan. If you want to have a particular debt excepted from
                                             discharge under 11 U.S.C. § 523(a)(2) or (4), you must file a complaint and pay the filing fee in the
                                             bankruptcy clerk's office by the deadline. If you believe that the debtors are not entitled to a discharge
                                             of any of their debts under 11 U.S.C. § 1328(f), you must file a motion. The bankruptcy clerk's office
                                             must receive the objection by the deadline to object to exemptions in line 8.

Notice of Potential Dismissal

If the debtor fails to file required schedules, statements or lists within 15 days from the date the petition is filed, or object to dismissal of the case indicating
why dismissal is not appropriate, the case may be dismissed without further notice. If the Debtor(s) fails to appear at the meeting of creditors, the U.S.
Trustee may apply for an order of dismissal without further notice.

Anyone can register for the Electronic Bankruptcy Noticing program at ebn.uscourts.gov OR (2) Debtors can register for DeBN by filing local form DeBN
Request Form with the Clerk of Court. Both options are FREE and allow the clerk to quickly send you court−issued notices and orders by email.



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